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                        IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE DISTRICT OF DELAWARE

In re:                                     )                          Chapter 11
                                           )
AMERICAN PHYSICIAN PARTNERS, LLC, et al.,1 )                          Case No. 23-11469 (BLS)
                                           )
                    Debtors.               )                          (Joint Administration Requested)
                                           )                          Ref. Docket No. 5

           INTERIM ORDER: (I) AUTHORIZING THE DEBTORS TO (A) FILE A
           CONSOLIDATED LIST OF CREDITORS IN LIEU OF SUBMITTING A
    SEPARATE MAILING MATRIX FOR EACH DEBTOR, (B) FILE A CONSOLIDATED
      LIST OF THE DEBTORS’ THIRTY LARGEST UNSECURED CREDITORS, AND
       (C) REDACT CERTAIN PERSONALLY IDENTIFIABLE INFORMATION FOR
            INDIVIDUAL CREDITORS; AND (II) GRANTING RELATED RELIEF

                  Upon the motion (the “Motion”)2 of the above-captioned debtors and debtors in

possession (collectively, the “Debtors”) for entry of an order (this “Interim Order”): (i) authorizing

the Debtors to (a) file a consolidated creditor list in lieu of submitting a separate list for each

Debtor, (b) file a consolidated list of the thirty largest unsecured creditors, and (c) redact certain

personally identifiable information for the Debtors’ individual creditors and interest holders; and

(ii) granting related relief, as set forth in the Motion; and upon the First Day Declaration; and the

United States District Court for the District of Delaware having jurisdiction over this matter

pursuant to 28 U.S.C. § 1334, which was referred to this Court under 28 U.S.C. § 157 pursuant to

the Amended Standing Order of Reference from the United States District Court for the District of

Delaware, dated February 29, 2012; and the Court having found that this is a core proceeding

pursuant to 28 U.S.C. § 157(b)(2); and the Court having found that it may enter a final order



1
     A complete list of each of the Debtors in these chapter 11 cases may be obtained on the website of the Debtors’
     proposed claims and noticing agent at https://dm.epiq11.com/AmericanPhysicianPartners. The location of
     American Physician Partners, LLC’s principal place of business and the Debtors’ service address in these
     chapter 11 cases is 5121 Maryland Way, Suite 300, Brentwood, TN 37027.
2
     Capitalized terms not defined herein retain the meaning assigned to them in the Motion.


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consistent with Article III of the United States Constitution; and the Court having found that venue

of this proceeding and the Motion in this district is proper pursuant to 28 U.S.C. §§ 1408 and 1409;

and the Court having found that the Debtors’ notice of the Motion and opportunity for a hearing

on the Motion were appropriate under the circumstances and no other notice need be provided;

and the Court having found that the relief requested in the Motion is in the best interests of the

Debtors’ estates, their creditors, and other parties in interest; and the Court having determined that

the legal and factual bases set forth in the Motion establish just cause for the relief granted herein;

and upon all of the proceedings had before the Court; and after due deliberation and sufficient

cause appearing therefor,

                 IT IS HEREBY ORDERED THAT:

                          The Motion is GRANTED on an interim basis as set forth herein.

                          The final hearing (the “Final Hearing”) on the Motion shall be held on

October 18, 2023 at 11:00 a.m., prevailing Eastern Time. Any objections or responses to entry of

a final order on the Motion shall be filed on or before 4:00 p.m., prevailing Eastern Time, on

October 11, 2023. In the event that no objections to entry of a final order on the Motion are timely

received, this Court may enter such final order without need for the Final Hearing.

                          As soon as practicable after entry of an order authorizing the engagement

of the proposed notice and claims agent in the Chapter 11 Cases, the Debtors shall furnish to the

proposed notice and claims agent a consolidated creditor list.

                          The requirements of Local Rule 1007-2(a) and Local Rule 2002-1(f)(v) that

separate mailing matrices be submitted for each Debtor are waived, and the Debtors are authorized



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to submit a consolidated list of creditors; provided that if any of the Chapter 11 Cases converts to

a case under chapter 7 of the Bankruptcy Code, each Debtor shall file its own separate mailing

matrix and provide same to the Clerk’s office within ten days of any such conversion.

                          The Debtors are authorized to file a consolidated list of the Debtors’ thirty

largest unsecured creditors.

                          The Debtors are authorized to redact home address information of the

Debtors’ individual creditors and interest holders who are natural persons listed on the Creditor

Matrix, schedules and statements, or similar documents filed with the Court. The Debtors reserve

any and all rights to request the authority to seal additional personally identifiable information in

future documents filed with the Court. The U.S. Trustee and the Court will receive an unredacted

copy of the Creditor Matrix only upon request. An unredacted copy of the Creditor Matrix will be

filed under seal. Any party in interest may make a request for an unredacted copy of the Creditor

Matrix. Any party in interest that is not, upon request, provided with an unredacted version of the

Creditor Matrix may file a motion with the Court to obtain an unredacted copy of the Creditor

Matrix.

                          Notwithstanding paragraph 5 of this Order, the Debtors are not required to

provide an unredacted version of the Creditor Matrix to any party in interest except for the United

States Trustee unless and until such party signs a confidentiality agreement acceptable to the

Debtors, unless otherwise ordered by the Court.

                          All pleadings required to be served on employees will be served at their

residential address.



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                          Notwithstanding any Bankruptcy Rule to the contrary, the terms and

conditions of this Order are immediately effective and enforceable upon entry.




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                          The Debtors are authorized to take all actions necessary to effectuate the

relief granted in this Order in accordance with the Motion.

                          The Court retains exclusive jurisdiction with respect to all matters arising

from or related to the implementation, interpretation, and enforcement of this Order.




Dated: September 21st, 2023                      BRENDAN L. SHANNON
Wilmington, Delaware                             UNITED STATES BANKRUPTCY JUDGE




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